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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION


    IN RE:                                          §
                                                    §               Case No. 21-30107
    PDG PRESTIGE, INC.                              §                  (Chapter 11)
                                                    §
             Debtor.                                §
                                                    §

         MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN
         LISTS, SCHEDULES,    AND STATEMENTS  PURSUANT   TO
         BANKRUPTCY RULE 1007

  TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

         PDG Prestige Inc. debtor and debtor in possession (“PDG-P” or the “Debtor”) file this

  Motion of Debtor to Extend Time for Filing Certain Lists, Schedules, and Statements Pursuant to

  Bankruptcy Rule 1007 and in support thereof would show the Court the following.

                                         INTRODUCTION

         1.       This motion seeks authorization for the Debtor to file schedules, equity security

  holders list, and the statement of financial affairs by March 15, 2021.

         2.       The meeting of creditors is scheduled for March 18, 2021.

                                   JURISDICTION AND VENUE

         3.       The Court has jurisdiction over this action pursuant to, and without limitation §§

  105, 363, 507, and 1101 et seq. of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq.

  (the “Code”).

         4.       Venue action is proper in this Court pursuant to 28 U.S.C. § 1409.

         5.       The Court may try this action to a conclusion and enter final orders under Stern v.

  Marshall, 131 S. Ct. 2594 (U.S. 2011).



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                                    FACTUAL BACKGROUND

  The identify and background of the Debtors and Debtors in Possession.

         6.      PDG-P owns and is developing a tract of commercial real property in Las Cruces,

  New Mexico.

  The Commencement of the Bankruptcy Cases.

         7.      On February 15, 2021, PDG-P commenced the above-captioned Chapter 11 case

  by filing a voluntary petition.

         8.      PDG-P commenced this case in order to stop the foreclosure of the subject real

  property by the first lien holder and following the exhaustion of attempts to delay foreclosure in

  order to complete one or more sales of some or all of the property.

  Factual background in support of the relief requested, and basis of relief.

         9.      PDG-P retained the undersigned law firm as of February 15, 2021 for this case.

         10.     The schedules and related initial pleadings were due on March 1, 2021.

         11.     The meeting of creditors is set on March 18, 2021.

         12.     Debtor seeks an extension of time to file its schedules and other initial pleadings

  to March 15, 2021.

         13.     Bankruptcy Rules 1007(a)(5) and (c) authorizes the Court to grant an extension of

  the date by which the lists and the schedules and statements of the Debtor must be filed pursuant

  to Bankruptcy Rule 1007, “on motion for cause shown.”

         14.     Cause exits for an extension due to the following circumstances including the

  following circumstances.

                 a.      The undersigned was retained upon or with the commencement of this
                         case and otherwise requires more time to complete the schedules and
                         initial pleadings.




  MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS, SCHEDULES, AND STATEMENTS
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                 b.      The principal of the Debtor., Mr. Michael Dixson, is devoting time and
                         resources to two (2) recently-filed Chapter 11 bankruptcy cases (this case
                         and Case No. 21-30071, In re The Gateway Ventures, LLC), with limited
                         or no additional support to (i) address the various commitments required
                         of a Chapter 11 debtor in possession, (ii) amass the detailed information
                         that is necessary for the schedules and the SOFA, and/or (iii) to otherwise
                         then address the operational and business aspects of these cases.


         15.     If the extension is granted, the schedules and related items will be filed three

  (3) days prior to the Code §341 meeting of creditors.

         16.     Courts routinely have granted similar relief in other cases. Accordingly, the

  Debtor's request for an extension of time to file the schedules and related items is appropriate

  and warranted under the circumstances.

         17.     Notice of this Motion has been provided to the Office of the United States Trustee

  for the Western District of Texas, and all creditors identified to date.

                                       RELIEF REQUESTED

         18.     Accordingly, pursuant to Rule 1007, PDG-P respectfully requests an extension

  through and until March 15, 2021 of the time to permitted to file its schedules, list of equity

  security holders, and statement of financial affairs, and any other items required by Rule 1007.

                                   CONCLUSION AND PRAYER

         WHEREFORE, PDG Prestige Inc., the debtor and debtor-in-possession respectfully

  request that the Court enter an order (i) extending through and until March 15, 2021 the time

  permitted to file its schedules, list of equity security holders, and statement of financial affairs,

  and any other items required by Rule 1007; and (ii) granting such other and further relief to

  which the Debtor may be entitled at law or in equity.




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  Dated: March 3, 2021                      Respectfully submitted:

                                            WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                            By:       /s/ Jeff Carruth
                                                  JEFF CARRUTH (TX SBN:. 24001846)
                                                  3030 Matlock Rd., Suite 201
                                                  Arlington, Texas 76105
                                                  Telephone: (713) 341-1158
                                                  Fax: (866) 666-5322
                                                  E-mail: jcarruth@wkpz.com


                                            PROPOSED ATTORNEYS FOR
                                            PDG PRESTIGE INC.
                                            DEBTOR AND DEBTOR IN POSSESSION


                                   CERTIFICATE OF SERVICE
          The undersigned hereby certifies that a true and correct copy of the foregoing was served
  on March 3, 2021 (1) by electronic notice to all ECF users who have appeared in this case to
  date, as set forth below and (2) by regular mail to all parties appearing in the attached address list
  (i.e. mailing matrix) obtained from the Court’s PACER facility as attached below.

                                                        /s/ Jeff Carruth
                                                        JEFF CARRUTH




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                                      ECF SERVICE LIST

  Notice will be electronically mailed to:

  Jeff Carruth on behalf of Debtor PDG Prestige, Inc.
  jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com

  Brad W. Odell on behalf of Creditor City bank
  bodell@mhba.com,
  memert@mhba.com;mreynolds@mhba.com;bwodellscvtxw@ecf.axosfs.com

  Donald P. Stecker on behalf of Creditor City Of El Paso
  don.stecker@lgbs.com

  United States Trustee - EP12
  USTPRegion07.SN.ECF@usdoj.gov




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                             REGULAR MAIL LIST / MATRIX




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                                PROPOSED ORDER




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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

    IN RE:                                        §
                                                  §              Case No. 21-30107
    PDG PRESTIGE INC.,                            §                  (Chapter 11)
                                                  §
             Debtor.                              §
                                                  §

         ORDER GRANTING MOTION OF DEBTOR TO EXTEND TIME FOR
         FILING CERTAIN LISTS, SCHEDULES, AND STATEMENTS
         PURSUANT TO BANKRUPTCY RULE 1007 (RE: DOCKET NO. 7)

          On this day came on for consideration the Motion of Debtor to Extend Time for Filing
  Certain Lists, Schedules, and Statements Pursuant to Bankruptcy Rule 1007 (Docket No. 17)
  filed herein on March 3, 2021 by PDG Prestige Inc., debtor and debtor in possession (“PDG-P”
  or the “Debtor”). The Court finds and concludes that upon review of the record of this case that
  sufficient notice was provided in accordance with the Federal Rules of Bankruptcy Procedures
  and/or the Local Bankruptcy Rules and with respect to the Motion to Extend Time (Schedules)
  that cause exists to grant the relief requested therein.

         IT IS THEREFORE ORDERED THAT the deadline under Fed. R. Bankr. P. 1007 for
  the Debtor to file the schedules, statement of financial affairs, and other remaining lists due
  under Rule 1007 is extended to March 15, 2021.

                                                ###



  ORDER GRANTING MOTION OF DEBTOR TO EXTEND TIME FOR FILING CERTAIN LISTS, SCHEDULES,
  AND STATEMENTS PURSUANT TO BANKRUPTCY RULE 1007 (RE: DOCKET NO. 7) — Page 1 1926908.DOCX [3]
